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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO


Civil Action No. 1:16-cv-01779-RBJ



DEBBI POTTS, a Colorado resident,

         Plaintiff,

v.


CENTER FOR EXCELLENCE IN HIGHER EDUCATION,                                         INC.,     (FKA
COLLEGEAMERICA DENVER, INC.), an Indiana Corporation,

         Defendant.


                                     NOTICE OF APPEAL



         Please take notice that Plaintiff Debbi Potts hereby appeals to the United States Court of

Appeals for the Tenth Circuit from the Final Judgment (ECF 48) and Order (ECF 47) entered in

this action on March 24, 2017.



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Dated 4/24/2017.

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 24, 2017, I filed the foregoing document

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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